Case 1:18-cv-20243-UU Document 5 Entered on FLSD Docket 01/30/2018 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No. 1:18-cv-20243-UU
 LAWRENCE RUBENSTEIN,

           Plaintiff,

 v.

 UNITEDHEALTHCARE INSURANCE
 COMPANY, INC., et al,

       Defendants.
 ____________________________________/

                                   ORDER TO SHOW CAUSE

           THIS CAUSE is before the Court sua sponte.

           THE COURT has reviewed the pertinent portions of the record and is otherwise fully

 advised in the premises. On January 19, 2018, Plaintiff filed their Complaint D.E. 1. As of

 January 30, 2018, Plaintiff has yet to file an affidavit of service as to Defendant. Accordingly, it

 is

           ORDERED AND ADJUDGED that Plaintiff shall show cause in writing as to his efforts

 in effecting service on Defendant by Wednesday, February 7, 2018. Alternatively, Plaintiff

 may file a verified return of service on Defendant by such date. Failure to respond to this

 Order will result in dismissal of this action against Defendant Stuart Boyd without further

 notice.

           DONE AND ORDERED in Chambers at Miami, Florida, this 30th day of January, 2018.




 copies provided: counsel of record
